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                      6
                          Attorneys for Defendants SELECT PORTFOLIO
                      7   SERVICING, INC.; THE BANK OF NEW YORK
                          MELLON, F/K/A THE BANK OF NEW YORK, AS
                      8   TRUSTEE, ON BEHALF OF THE HOLDERS OF THE
                          ALTERNATIVE LOAN TRUST 2007-HY9,
                      9   MORTGAGE PASS-THROUGH CERTIFICATES
                          SERIES 2007-HY9 [erroneously sued as “THE BANK OF
                 10       NEW YORK MELLON F/K/A THE BANK OF NEW
                          YORK, AS TRUSTEE, ON BEHALF OF THE
                 11       HOLDERS OF THE ALTERNATIVE LOAN TRUST
                          2007-HY9, MORTGAGE PASS-THROUGH
                 12       CERTIFICATES SERIES 2007-HY9” and “THE BANK
                          OF NEW YORK MELLON FKA THE BANK OF NEW
                 13       YORK, AS TRUSTEE, FOR THE CERTIFICATE
                          HOLDERS, ALTERNATIVE LOAN TRUST 2007-HY9
                 14       MORTGAGE PASS TRHOUGH CERTIFICATES,
                          SERIES 2007-HY9”]: MORTGAGE ELECTRONIC
                 15       REGISTRATION SYSTEMS, INC.

                 16                          UNITED STATES DISTRICT COURT
                 17                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                 18                         SOUTHERN DIVISION – SANTA ANA
                 19
                          BILLIE RENE FRANCES                   Case No. 8:17-CV-01386-DOC-KES
                 20       LILIAN POWERS,
                                                                Assigned to
                 21                     Plaintiff,              District Judge: Hon. David O. Carter
                                                                Courtroom: 9D
                 22            v.                               Assigned Discovery
                          COUNTRYWIDE HOME                      Magistrate Judge: Hon. Karen E. Scott
                 23
                          LOANS, INC.; COUNTRYWIDE              NOTICE OF MOTION AND
                 24       BANK, FSB;                            MOTION TO STRIKE PORTIONS
                          COMMONWEALTH LAND                     OF PLAINTIFF’S FIRST AMENDED
                 25       TITLE INSURANCE                       COMPLAINT; MEMORANDUM IN
                          COMPANY; MORTGAGE                     SUPPORT
                 26       ELECTRONIC REGISTRATION
                          SYSTEMS, INC. “MERS”;                 [Federal Rule of Civil Procedure, Rules
                 27       BANK OF AMERICA, N.A.;                12(f)]
                          RECONTRUST COMPANY,
                 28       N.A. ; BAC HOME LOANS
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                      1   SERVICING, LP; QUALITY                  Filed and served concurrently with:
                          LOAN SERVICING                          1. Motion to Dismiss
                      2   CORPORATION; SELECT                     2. Request for Judicial Notice
                          PORTFOLIO SERVICING, INC.;
                      3   THE BANK OF NEW YORK                    Date: November 13, 2017
                          MELLON F/K/A THE BANK OF                Time: 8:30 a.m.
                      4   NEW YORK, AS TRUSTEE, ON                Ctrm.: 9D
                          BEHALF OF THE HOLDERS
                      5   OF THE ALTERNATIVE LOAN                 Date Filed:      August 11, 2017
                          TRUST 2007-HY9, MORTGAGE
                      6   PASS-THROUGH
                          CERTIFICATES SERIES 2007-
                      7   HY9; THE BANK OF NEW
                          YORK MELLON FKA THE
                      8   BANK OF NEW YORK, AS
                          TRUSTEE, FOR THE
                      9   CERTIFICATE HOLDERS,
                          ALTERNATIVE LOAN TRUST
                 10       2007-HY9 MORTGAGE PASS
                          TRHOUGH CERTIFICATES,
                 11       SERIES 2007-HY9; JON
                          SECRIST; AND DOES 1 TO 10
                 12
                                         Defendants.
                 13

                 14             TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                 15             PLEASE TAKE NOTICE that on November 13, 2017 at 8:30 a.m. or as
                 16       soon thereafter as the matter may be heard in Courtroom 9D, of the above-entitled
                 17       court, located at 411 West 4th Street, Santa Ana, California, Defendants SELECT
                 18       PORTFOLIO SERVICING, INC. [“SPS”], THE BANK OF NEW YORK
                 19       MELLON, F/K/A THE BANK OF NEW YORK, AS TRUSTEE, ON BEHALF OF
                 20       THE HOLDERS OF THE ALTERNATIVE LOAN TRUST 2007-HY9,
                 21       MORTGAGE         PASS-THROUGH           CERTIFICATES        SERIES      2007-HY9
                 22       [“BNYM”], and MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.
                 23       [“MERS”], [collectively “Loan Defendants”] will and hereby do move this Court
                 24       for an order striking the below paragraphs and lines from Plaintiff’s First Amended
                 25       Complaint pursuant to Rule 12(f) of the Federal Rules of Civil Procedure.
                 26             Loan Defendants will move this Court for an order striking the following
                 27       language from the First Amended Complaint:
                 28
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                      1                 ALLEGATIONS REGARDING PUNITIVE DAMAGES
                      2         This request is based on Plaintiff’s failure to allege specific facts indicating
                      3   “fraud, malice or oppression” and Plaintiff’s failure to allege specific facts
                      4   indicating that Loan Defendants authorized or ratified any acts indicating “fraud,
                      5   malice or oppression.”
                      6         1.      The words “punitive damages,” appearing at page 24, paragraph 31.
                      7         2.      The words “punitive damages,” appearing at page 25, paragraph 32.
                      8         3.      The words “punitive damages,” appearing at page 28, paragraph 34.
                      9         4.      The words “The Plaintiff states that the slander of the subject Real
                 10       Property by the Defendant was intentional, fraudulent, malicious, oppressive and
                 11       burdensome and deserving the imposition of punitive damages in an amount
                 12       sufficient enough that such conduct will not be repeated again by the Defendant,”
                 13       appearing at page 34, paragraph 55.
                 14             5.      The words “The Plaintiff is entitled to punitive and exemplary
                 15       damages against the Defendant in an amount to be shown according to proof at time
                 16       of trial,” appearing at page 42, paragraph 71.
                 17             6.      The words “The Plaintiff is entitled to punitive and exemplary
                 18       damages against the Defendant in an amount to be shown according to proof at time
                 19       of trial,” appearing at page 43, paragraph 72.
                 20             7.      The words “An award of Punitive and exemplary damages in an
                 21       amount to be determined at trial in addition to actual damages,” appearing at page
                 22       44, paragraph 5 of the Prayer.
                 23             8.      The words “punitive damages,” appearing at page 45, paragraph 20 of
                 24       the Prayer.
                 25                     ALLEGATIONS REGARDING ATTORNEYS’ FEES
                 26             This request is based on the fact that Plaintiff is in pro per.
                 27             9.      The words “attorney’s fees,” appearing at page 19, paragraph 26.
                 28             10.     The words “attorneys’ fees,” appearing at page 24, paragraph 31.
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                      1         11.    The words “attorneys’ fees,” appearing at page 28, paragraph 34.
                      2         12.    The words “attorneys’ fees,” appearing at page 25, paragraph 32.
                      3         13.    The words “including attorney’s fees,” appearing at page 33,
                      4   paragraph 52.
                      5         14.    The words “including attorney’s fees charged in excess of the
                      6   amount(s) that the Defendants actually incurred,” appearing at page 34, paragraph
                      7   53.
                      8         15.    The words “attorneys’ fees and,” appearing at page 39, paragraph 64.
                      9         16.    The words “An award of reasonable attorneys’ fees to the Plaintiff,”
                 10       appearing at page 44, paragraph 7 of the Prayer.
                 11             17.    The words “Plaintiff counsel and,” appearing at page 45, paragraph 14
                 12       of the Prayer.
                 13             This Motion is made following the conference of counsel pursuant to Local
                 14       Rule 7-3 which took place on October 3, 2017.
                 15             This Motion is based on this Notice of Motion, the attached Memorandum of
                 16       Points and Authorities, the Request for Judicial Notice, the pleadings and records
                 17       on file herein, and upon such oral and documentary evidence as may be presented
                 18       by the parties at the hearing.
                 19        Dated: October 10, 2017            KUTAK ROCK LLP
                 20
                                                              By: /s/ Steven M. Dailey
                 21                                            Steven M. Dailey
                                                               Attorneys for Defendants
                 22                                            SELECT PORTFOLIO SERVICING,
                                                               INC., THE BANK OF NEW YORK
                 23                                            MELLON, F/K/A THE BANK OF NEW
                                                               YORK, AS TRUSTEE, ON BEHALF OF
                 24                                            THE HOLDERS OF THE
                                                               ALTERNATIVE LOAN TRUST 2007-
                 25                                            HY9, MORTGAGE PASS-THROUGH
                                                               CERTIFICATES SERIES 2007-HY9 and
                 26                                            MORTGAGE ELECTRONIC
                                                               REGISTRATION SYSTEMS, INC.
                 27

                 28
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                      1                MEMORANDUM OF POINTS AND AUTHORITIES
                      2         Defendants SELECT PORTFOLIO SERVICING, INC. [“SPS”], THE
                      3   BANK OF NEW YORK MELLON, F/K/A THE BANK OF NEW YORK, AS
                      4   TRUSTEE, ON BEHALF OF THE HOLDERS OF THE ALTERNATIVE LOAN
                      5   TRUST 2007-HY9, MORTGAGE PASS-THROUGH CERTIFICATES SERIES
                      6   2007-HY9 [“BNYM”], and MORTGAGE ELECTRONIC REGISTRATION
                      7   SYSTEMS, INC. [“MERS”], [collectively “Loan Defendants”], hereby submit this
                      8   Memorandum of Points and Authorities in Support of their Motion to Strike.
                      9   1.    INTRODUCTION AND STATEMENT OF FACTS.
                 10             The facts are stated more thoroughly in the attendant Motion.              Briefly,
                 11       however, Plaintiff BILLIE RENE FRANCIS LILLIAN POWERS [“Plaintiff”] filed
                 12       this case with confusing scattered allegations attacking authority to foreclose and
                 13       vaguely referencing a multitude of civil and criminal statutes. The First Amended
                 14       Complaint [“FAC”] is poorly pleaded and fails to state any particular cause of
                 15       action as against Loan Defendants. Preliminarily, Plaintiff lacks standing to assert
                 16       claims relating to the Grant Deed or the Assignment due to her many bankruptcy
                 17       proceedings, and she is judicially estopped from raising claims not disclosed on her
                 18       bankruptcy schedules. Plaintiff’s attack on authority to foreclose fails, as no void
                 19       Assignment, or any other document, is implicated.                 Any attack on the
                 20       presumptively valid sale also fails absent tender. Plaintiff’s request to quiet title
                 21       fails absent a superior basis for title, and she has not alleged satisfaction of the lien.
                 22       She further fails to name as parties the co-borrowers on the Deed of Trust, the party
                 23       to whom she transferred title of the Property in 2007, and the party who purchased
                 24       the Property at a trustee’s sale under a junior lien. Her failure to include these
                 25       parties subjects the pleading to dismissal under Rule 12(b)(7). The alleged facts
                 26       and judicially noticeable documents reflect Plaintiff received the benefit of the loan
                 27       proceeds, she defaulted under the loan, and foreclosure is permitted under the
                 28       express language of the Deed of Trust.
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                      1          First, Plaintiff’s claim for punitive damages must be stricken. Plaintiff’s
                      2   allegations do not reflect any malicious intent or desire to cause Plaintiff any
                      3   harm. Additionally, Plaintiff’s FAC is devoid of any allegations indicating that any
                      4   “officer, director or managing agent” of Loan Defendants committed any act of
                      5   “fraud, malice or oppression.”
                      6          Second, Plaintiff’s request for attorneys’ fees must fail as Plaintiff is in pro
                      7   per.
                      8          Accordingly, Loan Defendants respectfully request that this Court grant this
                      9   Motion to Strike references to Plaintiff’s claims for punitive damages, and
                 10       attorneys’ fees without leave to amend.
                 11       2.     THIS COURT IS AUTHORIZED TO STRIKE “ANY REDUNDANT,
                                 IMMATERIAL, IMPERTINENT, OR SCANDALOUS” MATTERS.
                 12
                                 Rule 12(f) of the Federal Rules of Civil Procedure empowers a court to strike
                 13
                          from a pleading “any redundant, immaterial, impertinent, or scandalous matter.”
                 14
                          Motions to strike may be granted if “it is clear that the matter to be stricken could
                 15
                          have no possible bearing on the subject matter of the litigation.”          [LeDuc v.
                 16
                          Kentucky Central Life Ins. Co., 814 F. Supp. 820, 830 (N.D. Cal. 1992)] “[T]he
                 17
                          function of a [Rule] 12(f) motion to strike is to avoid the expenditure of time and
                 18
                          money that must arise from litigating spurious issues by dispensing with those
                 19
                          issues prior to trial.” [Sidney-Vinstein v. A.H. Robins Co., 697 F.2d 880, 885 (9th
                 20
                          Cir. 1993).] An “immaterial” matter “has no essential or important relationship to
                 21
                          the claim for relief.” [Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir.
                 22
                          1993), rev’d on other grounds, Fogerty v. Fantasy, Inc., 510 U.S. 517 (1994).] An
                 23
                          “impertinent” matter “consists of statements that do not pertain, and are
                 24
                          unnecessary, to the issues in question.” [Id. at 1527.] “[A] motion to strike may be
                 25
                          used to strike any part of the prayer for relief when the damages sought are not
                 26
                          recoverable as a matter of law.” [Bureerong v. Uvawas, 922 F. Supp. 1450, 1479,
                 27
                          n. 34 (C.D. Cal. 1996).]
                 28
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                      1   3.    PLAINTIFF’S CLAIM FOR PUNITIVE DAMAGES SHOULD BE
                                STRICKEN.
                      2
                                A.     Plaintiff Fails to Specifically Allege Wrongful Conduct Amounting
                      3                to “Fraud, Malice or Oppression.”
                      4         In determining whether punitive damages are available to a plaintiff, federal
                      5   courts apply the substantive law embodied in California Civil Code section 3294.
                      6   [Jackson v. East Bay Hosp., 980 F. Supp. 1341, 1353 (N.D. Cal. 1997).] Civil
                      7   Code section 3294 codifies the long recognized principle that the law does not favor
                      8   punitive damages and that they should be allowed only with the greatest of caution.
                      9   [Dyna-Med, Inc. v. Fair Employment and Housing Corn., 43 Cal.3d 1379, 1388
                 10       (1987); Henderson v. Security National Bank, 72 Cal.App.3d 764, 771 (1977).]
                 11       Section 3294 specifies that a plaintiff may only recover punitive damages in an
                 12       action for breach of an obligation where it is allegedly proven by that the defendant
                 13       committed acts of malice, oppression, or fraud. Section 3294 defines malice,
                 14       oppression and fraud as follows:
                 15               (c) As used in this section, the following definitions shall apply:
                                      (1) “Malice” means conduct which is intended by the
                 16                   defendant to cause injury to the plaintiff or despicable
                                      conduct which is carried on by the defendant with a
                 17                   willful and conscious disregard of the rights or safety of
                                      others.
                 18                   (2) “Oppression” means despicable conduct that subjects a
                 19
                                      person to cruel and unjust hardship in conscious disregard
                                      of that person’s rights.
                 20                   (3) “Fraud” means an intentional misrepresentation,
                                      deceit, or concealment of a material fact known to a
                 21                   defendant with the intention on the part of the defendant
                                      of thereby depriving a person of property or legal rights or
                 22                   otherwise causing injury.
                 23             The requirement of proving “despicable” conduct was added in 1987 by the
                 24       California Legislature in an attempt to further limit claims for punitive damages.
                 25       Despicable conduct is defined to mean conduct “which is so vile, base,
                 26       contemptible, miserable, retched or loathsome that it would be looked down upon
                 27       and despised by ordinary, decent people.” [BAJI, 8th Ed., 1471.]
                 28
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                      1         In Ebaugh v. Rahkin, 22 Cal.App.3d 891 (1972), the court reviewed the
                      2   requirements of section 3294:
                      3          [I]n order to warrant the allowance of punitive damages, the act
                                 complained of must not only be willful in the sense of intentional, but
                      4          it must also be accompanied by aggravating circumstances,
                                 amounting to malice. The malice required implies an act conceived in
                      5          a spirit of mischief or with criminal indifference towards the
                                 obligations owed to others. There must be an intent to vex, annoy or
                      6          injure. Mere spite or ill will is not sufficient; and mere negligence,
                                 even gross negligence is not sufficient to justify an award of
                      7          punitive damages.
                                 The cases also point out that the only form of malice contemplated by
                      8          Code of Civil Procedure section 3294 which creates the right to
                                 exemplary damages, is malice in fact [Citations]. Under general
                      9          definition, malice in fact denotes ill will on the part of the defendant,
                                 or his desire to do harm for the mere satisfaction of doing it. In
                 10              ultimate analysis, malice in fact is malice of evil motive.” [Ebaugh
                                 22 Cal.App.3d at 894 (Emphasis in original).]
                 11
                          A plaintiff must allege, with specificity, the facts which constitute malice,
                 12
                          oppression, and fraud. Conclusory allegations are insufficient to establish a claim
                 13
                          for punitive damage. [G.D. Searle & Co. v. Sup. Ct., 49 Cal.App.3d 22, 28-29
                 14
                          (1975).]    Merely using the terms “fraudulent, oppressive and malicious” have
                 15
                          uniformly been held to be inadequate to support a prayer for punitive damages.
                 16
                          [Walton v. Anderson, 6 Cal.App.3d 1003, 1009-1010 (1970); Gruenberg v. Aetna
                 17
                          Ins. Co., 9 Cal.3d 566, 576 (1973).]
                 18
                                Plaintiff does not allege a fraud claim as against Loan Defendants.
                 19
                          Additionally, Plaintiff fails to plead specific facts indicating that Loan Defendants
                 20
                          harbored any ill will or malice toward Plaintiff. Plaintiff does not contend that
                 21
                          Loan Defendants’ representatives threatened him in any manner. Accordingly,
                 22
                          Plaintiff fails to plead specific facts indicating “fraud, malice or oppression.”
                 23
                                B.      Plaintiff Fails to Allege Wrongful Conduct by a Corporate Officer,
                 24                     Director or Managing Agent of Loan Defendants.
                 25             Subdivision (b) of Civil Code section 3294 provides:
                                     An employer shall not be liable for damages pursuant to
                 26
                                     subdivision (a), based upon acts of an employee of the employer,
                 27                  unless the employer had advance knowledge of the unfitness of
                                     the employee and employed him or her with a conscious
                 28
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                      1            disregard of the rights or safety of others or authorized or
                      2            ratified the wrongful conduct for which the damages are
                                   awarded or was personally guilty of oppression, fraud, or malice.
                      3            (emphasis added)
                      4         In Grieves v. Sup. Ct., 157 Cal.App.3d 159 (1984), the Court of Appeal
                      5   affirmed the sustaining of a demurrer in favor of a corporate defendant. Addressing
                      6   the claim for punitive damages against the corporate defendant, the court stated:
                      7         [W]e fail to see how any of those allegations sets forth facts to show
                                [corporate defendant’s] advance knowledge, authorization or
                      8         ratification. Also, absent from the Complaint is any assertion an
                                officer, director, managing agent of corporate defendant] was
                      9         personally responsible for any of the acts allegedly performed by
                                [corporate defendant]. [See Grieves 157 Cal.App.3d at 168.]
                 10
                                 Further, the court in J. R. Norton Co. v. General Teamsters, Warehousemen
                 11
                          and Helpers Union, 208 Cal.App.3d 430, 445 (1989) noted,
                 12            A corporation may be held liable for punitive damages for the acts of
                               its agents and employees when the act is motivated by actual malice or
                 13            done under circumstances amounting to oppression providing that the
                               act is done with the knowledge or under the direction of corporate
                 14            officials having the power to bind the corporation.
                 15             Like fraud, actions for punitive damages must be specifically pleaded. [G.D.
                 16       Searle & Co., supra, 49 Cal.App.3d at p. 29.] Plaintiff fails to allege specific facts
                 17       indicating that any officer, director or managing agent of Loan Defendants directed
                 18       any conduct amounting to “fraud, malice or oppression” so as to hold Loan
                 19       Defendants liable for any punitive damages.
                 20       4.    PLAINTIFF’S CLAIM FOR ATTORNEYS’ FEES SHOULD BE
                                STRICKEN AS SHE IS IN PRO PER.
                 21
                                “In an action involving state law claims, [federal courts] apply the law of the
                 22
                          forum state to determine whether a party is entitled to attorneys’ fees.” [MRO
                 23
                          Communs., Inc. v. AT & T Co., 197 F.3d 1276, 1282 (9th Cir. 1999).] In California,
                 24
                          a party representing him or herself in litigation may not recover attorneys’ fees.
                 25
                          [Olsen v. Breeze, Inc., 48 Cal.App.4th 608, 629 (1996); Troupe v. Katz, 11 Cal.4th
                 26
                          274 (1995).] Plaintiff here is in pro per, and thus cannot recover fees in this action.
                 27
                          The fee-related allegations should be stricken.
                 28
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                      1   5.    CONCLUSION.
                      2         Accordingly, Loan Defendants respectfully request that this Court grant this
                      3   Motion to Strike references to Plaintiff’s claims for punitive damages, and
                      4   attorneys’ fees without leave to amend.
                      5    Dated: October 10, 2017           KUTAK ROCK LLP
                      6
                                                             By: /s/ Steven M. Dailey
                      7                                       Steven M. Dailey
                                                              Attorneys for Defendants
                      8                                       SELECT PORTFOLIO SERVICING,
                                                              INC., THE BANK OF NEW YORK
                      9                                       MELLON, F/K/A THE BANK OF
                                                              NEW YORK, AS TRUSTEE, ON
                 10                                           BEHALF OF THE HOLDERS OF
                                                              THE ALTERNATIVE LOAN TRUST
                 11                                           2007-HY9, MORTGAGE PASS-
                                                              THROUGH CERTIFICATES SERIES
                 12                                           2007-HY9 and MORTGAGE
                                                              ELECTRONIC REGISTRATION
                 13                                           SYSTEMS, INC.
                 14

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                                                         MOTION TO STRIKE
